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                                                              GOLDWATER_000117
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                                                              GOLDWATER_000118
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                                                              GOLDWATER_000119
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                                                              GOLDWATER_000120
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                                                              GOLDWATER_000121
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